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 5
 6   Attorney for Defendant
     ARMANDO ESPINDOLA
 7
 8                      IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,
12                                                       Case No. 09-cr-00380 WBS
                    Plaintiff,
13
     v.
14                                                       REQUEST FOR ORDER AND ORDER
                                                         EXONERATING BOND AND
15 ARMANDO ESPINDOLA, et al.,                            RECONVEYING PROPERTIES
16                  Defendants.

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             On October 26, 2010, this court ordered Mr. Espindola release on a $200,000 secured bond.
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     On November 15, 2010, Mr. Espindola filed two appearance bonds in the amounts of $20,000, and
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     $125,000 secured with real properties located at 5621 10th Street, Keyes, CA 95328 (“Keyes
22
     property”); and 1731 West Orangeburg Ave., Modesto, CA 95350 (“Modesto property”). Two
23
     deeds of trust for the properties were subsequently filed with the Stanislaus County Recorder and
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     this Court.
25
             On May 13, 2013, Mr. Espindola was sentenced to 18 months of imprisonment.
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             Accordingly, as Mr. Espindola has been sentenced and is presently incarcerated, serving his
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     sentence, he respectfully requests that the court exonerate the bonds posted to secure his release and
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     that the clerk of the court be directed to reconvey the deeds of trust back to the Trustors, Lilia and
     Jose Espindola (Keyes property); and Mario and Martha Espindola (Modesto property).
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 1   Dated: September 24, 2013                               Respectfully Submitted,
 2
 3                                                               /s/ John R. Duree, Jr.
                                                             JOHN R. DUREE, JR.
 4                                                           Attorney for Defendant
                                                             ARMANDO ESPINDOLA
 5
 6                                                  ORDER
 7          Good cause appearing,
 8          IT IS HEREBY ORDERED that the $200,000 bond posted to secure Mr. Espindola’s release
 9   be exonerated, and the clerk is directed to reconvey the deeds of trust for 5621 10th Street, Keyes,
10   CA 95328 and 1731 West Orangeburg Ave., Modesto, CA 95350 back to the Trustors, Lilia and
11   Jose Espindola and Mario and Martha Espindola, respectively.
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     Dated: September 24, 2013
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